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 8

 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                         OAKLAND DIVISION
12

13 EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR (TSH)

14                  Plaintiff,
                                                      DECLARATION OF VIVEK SHARMA IN
15 vs.                                                SUPPORT OF NON-PARTY FACEBOOK,
                                                      INC.’S ADMINISTRATIVE MOTION TO
16 APPLE INC.,                                        FILE UNDER SEAL PORTION OF TRIAL
                                                      EXHIBITS
17                  Defendant.

18
19

20
            I, Vivek Sharma, declare as follows:
21
            1.      I am currently Vice President of Facebook Gaming at Facebook, Inc. (“Facebook”).
22
     I have worked for Facebook since October 2016, and have been in my current role since April
23
     2019. In the course of my employment at Facebook, I have acquired personal knowledge of
24
     Facebook’s practices and procedures concerning the maintenance over its competitively sensitive
25
     strategic and business information.
26

27

28
                                            -1-             Case No. 4:20-cv-05640-YGR (TSH)
     DECLARATION OF VIVEK SHARMA ISO ADMIN. MOTION BY NON-PARTY FACEBOOK, INC. TO SEAL
                                      TRIAL EXHIBITS
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 1          2.      I submit this declaration in support of sealing portions of certain documents

 2 produced by Facebook pursuant to third-party subpoenas that Epic Games, Inc. (“Epic”) has

 3 indicated it intends to introduce at trial in this action.

 4          3.      The following facts are true and correct to the best of my knowledge, and are based

 5 on my personal knowledge of Facebook’s practices and procedures as they relate to the treatment

 6 of Facebook’s competitively sensitive confidential information. If called upon to testify as a

 7 witness, I could and would testify competently thereto.

 8          4.      Facebook’s policies, practices, and procedures restrict Facebook employees from

 9 disclosing confidential discussions and deliberation about strategy and product features to

10 Facebook’s competitors and business partners, as well as the general public, including through

11 requiring employees to sign non-disclosure agreements. In my experience and to the best of my

12 knowledge, Facebook does not disclose internal documents of this nature outside of Facebook.

13          5.      The disclosure of Facebook’s confidential internal business and product plans, and

14 strategies and decision-making plans, could significantly harm Facebook’s relationships and

15 ability to do business with its business partners and potential business partners, and could place it

16 at a significant disadvantage to competitors who could use Facebook’s confidential business and

17 product plans, and strategies and decision-making plans to their advantage in competing with

18 Facebook. These materials therefore have economic value from not being generally known to
19 Facebook’s competitors, business partners, or the general public.

20          6.      The following documents in the trial exhibits Epic and Apple have indicated Epic

21 intends to produce at trial, which were produced by Facebook in response to third-party

22 subpoenas, contain competitively sensitive, confidential Facebook information.

23 PX-2411 [EGFB-000264] (Exhibit 1)

24          7.      This document contains confidential internal business and product plans, including

25 for products and features that were not launched, as well as internal strategic discussions regarding

26 business strategy, decision-making, and projected business impact regarding Facebook’s business

27 partners and competitors. If revealed to competitors, business partners, or potential business

28 partners, they could use this confidential information to Facebook’s disadvantage in competing
                                            -2-             Case No. 4:20-cv-05640-YGR (TSH)
     DECLARATION OF VIVEK SHARMA ISO ADMIN. MOTION BY NON-PARTY FACEBOOK, INC. TO SEAL
                                      TRIAL EXHIBITS
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 1 strategic decision-making. For this document, I have identified and proposed the following

 2 specific, limited redactions of portions of the documents containing sensitive, confidential

 3 information leaving the remaining portion unredacted.

 4          8.     EGFB-000264: highlighted portions;

 5                 EGFB-000265: highlighted portions.

 6 PX-2413 [EGFB-001138] (Exhibit 2)

 7          9.     This document contains confidential internal business and product plans, as well as

 8 internal strategic discussions regarding business strategy, decision-making, and projected business

 9 impact regarding Facebook’s business partners and competitors. If revealed to competitors,

10 business partners, or potential business partners, they could use this confidential information to

11 Facebook’s disadvantage in competing strategic decision-making. For this document, I have

12 identified and proposed the following specific, limited redactions of portions of the documents

13 containing sensitive, confidential information leaving the remaining portion unredacted.

14          10.    EGFB-001141: highlighted portions;

15                 EGFB-001143: highlighted portions;
16                 EGFB-001144: highlighted portions;
17                 EGFB-001148: highlighted portions;
18
                   EGFB-001149: highlighted portions;
19
                   EGFB-001150: highlighted portions;
20
                   EGFB-001151: highlighted portions;
21
                   EGFB-001154: highlighted portions;
22
                   EGFB-001155: highlighted portions;
23
                   EGFB-001156: highlighted portions;
24
                   EGFB-001157: highlighted portions;
25

26                 EGFB-001159: highlighted portions;

27                 EGFB-001160: highlighted portions;

28                 EGFB-001161: highlighted portions.
                                            -3-             Case No. 4:20-cv-05640-YGR (TSH)
     DECLARATION OF VIVEK SHARMA ISO ADMIN. MOTION BY NON-PARTY FACEBOOK, INC. TO SEAL
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